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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


BRENT WEICKERT

       Plaintiff,

v.                                                             Case No. 1:16-cv-00142-RJL

NATURAL PRODUCTS ASSOCIATION, et al.

       Defendants.




                      DECLARATION OF KATHLEEN M. HARTMAN

I, KATHLEEN M. HARTMAN, DECLARE AND STATE AS FOLLOWS:

1.      This declaration is based on my personal knowledge. If called upon, I am competent to

testify in a court of law as to the contents of this declaration.

2.      My full name is Kathleen M. Hartman. I am a partner at Callahan, Thompson, Sherman

& Caudill, LLP.

3.      My office address is: 2601 Main Street, Suite 800, Irvine, CA 92614. My office

telephone number is (949)261-2872.

4.      I am admitted to practice law before the California State Bar, the United States Supreme

Court, the Southern District of California, the Central of California and the Eastern District of

California.

5.      I certify that I have never been disciplined by any Bar in which I am admitted to practice

law.

6.      I have not been admitted pro hac vice in this Court within the past two years.

7.      I do not practice law from an office located in the District of Columbia.
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I declare under the penalty of perjury of the laws of the United States of America that the

aforementioned statements are true and correct.


Date: March 25, 2016                              /s/Kathleen M. Hartman
                                                  Kathleen M. Hartman
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                                                  CAUDILL, LLP
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